                     Case 1:20-cr-00213-DCN Document 30 Filed 04/26/21 Page 1 of 4
5/06
Form: Pro Hac Vice
                            IN THE UNITED STATES DISTRICT/BANKRUPTCY COURTS
                                        FOR THE DISTRICT OF IDAHO
   United States of America                  )
                                                              1:20-cr-213-DCN-1
                                             )      Case No.
                                             )
v.                                           )      APPLICATION FOR ADMISSION
   ASHLEY LAUREN CATES                       )      PRO HAC VICE
                                             )
                                             )
                                             )      Fee: $250.00

          Pursuant to Local Rule 83.4(e) of the United States District Court for the District of Idaho,
Katryna Lyn Spearman, Esq.
                                                    , hereby applies for admission pro hac vice to appear and participate
in this case on behalf of Ashley Lauren Cates, Defendant                                                            .

          The applicant hereby attests as follows:

        1. Applicant resides in Atlanta, Georgia                                   , and practices at the following
address and phone number Lowther | Walker LLC, 101 Marietta St. NW, Ste. 3325, Atlanta, GA 30303
Office: 404-496-4052

          2. Applicant has been admitted to practice before the following courts on the following dates:
Courts:                                                                   Dates:
 See attached




          3. Applicant is in good standing and eligible to practice in said courts.

          4. Applicant is not currently suspended or disbarred in any other courts.

       5. Andrew Parnes                                          , a member in good standing of the bar of this court, of the firm of
 Law Office of Andrew Parnes                               , practices at the following office address and phone number:
 P.O. Box 5988, 671 First Avenue North, Ketchum, ID 83340, 208-726-1010, aparnes@mindspring.com


and is hereby designated as co-counsel with authority to act as attorney of record for all purposes. Said designee hereby consents
to this designation by signing this application.
            21             April                 2021
Dated this         day of                      ,      .

 s/ Katryna Lyn Spearman, Esq.                                    /s/ Andrew Parnes
Applicant                                                        Designee
Signed under penalty of perjury.
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Court Admissions- Katryna Lyn Spearman

Court                                                     Admission Date   Status

US Court of Appeals for the Fourth Circuit                03/19/2019       Active

US Court of Appeals for the Sixth Circuit                 04/30/2019       Active

US Court of Appeals for the Seventh Circuit               07/12/2019       Active

US Court of Appeals for the Tenth Circuit                 07/09/2019       Active

US Court of Appeals for the Eleventh Circuit              09/05/2018       Active

US District Court for the District of Colorado            05/21/2020       Active

US District Court for the Middle District of Georgia      09/24/2018       Active

US District Court for the Northern District of Georgia    08/06/2018       Active

US District Court for the Southern District of Georgia    10/23/2018       Active

US District Court for the Western District of Tennessee   06/06/2019       Active

Superior Courts of Georgia                                04/24/2018       Active
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Ms. Katryna Lyn Spearman
Lowther Walker LLC
Centennial Tower
101 Marietta Street NW Suite 3325
Atlanta, GA 30303




CURRENT STATUS:                          Active Member-Good Standing
DATE OF ADMISSION:                       04/24/2018
BAR NUMBER:                              616038
TODAY'S DATE:                            03/22/2021

The prerequisites for practicing law in the State of Georgia are as follows:

     § Certified by the Office of Bar Admissions, either by Exam, or on Motion (Reciprocity).
     § Sworn in to the Superior Court in Georgia, highest court required to practice law in Georgia.
     § Enrolled with the State Bar of Georgia, arm of the Supreme Court of Georgia.




This member is currently in “good standing” as termed and defined by State Bar Rule 1-204. The member is
current in license fees and is not suspended or disbarred as of the date of this letter.



                                               STATE BAR OF GEORGIA


                                            Official Representative of the State Bar of Georgia
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AO 136(Rev. 10/13)Certific^cofGood Standing



                                   United States District Court
                                                               for the
                                                     Southern District of Georgia

                                        CERTIFICATE OF GOOD STANDING




                                                 John E. Triplett, Acting                                , Clerk of this Court,


certify that                       Katryna Lyn Spearman                       , Bar #                 616038



was duly admitted to practice in this Court on                   10/23/2018              ,and is in good standing as a member


of the Bar of this Court.



Dated at                               Brunswick, Georgia                           on               3/25/2021
                                              (Location)                                               (Date)




                 John E. Triplett, Acting Clerl^
                               CLERK                                                        DEPUTY CLERK
